

People v Dilone (2025 NY Slip Op 01591)





People v Dilone


2025 NY Slip Op 01591


Decided on March 18, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 18, 2025

Before: Moulton, J.P., Kennedy, Rodriguez, Pitt-Burke, O'Neill Levy, JJ. 


Ind. No. 3720/14|SCI No. 68/16|Appeal No. 3927|Case No. 2019-02797|

[*1]The People of the State of New York, Respondent,
vSteven Dilone, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Robin Nichinsky counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Elliott R. Hamilton of counsel), for respondent.



Order, Supreme Court, Bronx County (Miriam R. Best, J.), entered on or about May 9, 2019, which denied, without a hearing, defendant's two CPL 440.10(1)(h) motions to vacate two convictions pursuant to pleas of guilty, unanimously affirmed.
Defendant's arguments that the court erred in summarily denying his CPL 440.10 motions, premised on the claim that his attorneys misadvised him regarding the immigration consequence of his pleas, are unpreserved and we decline to consider them in the interest of justice. 	 THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 18, 2025








